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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

CLEAR WITH COMPUTERS, LLC,                             )
          Plaintiff,                                   )
                                                       ) Civil Action No. 6:14-cv-82
v.                                                     )
                                                       ) JURY TRIAL DEMANDED
GREAT PLAINS MANUFACTURING, INC.,                      )
          Defendant.                                   )
                                                       )

              STIPULATED MOTION FOR DISMISSAL WITH PREJUDICE

       The plaintiff Clear With Computers, LLC and defendant Great Plains Manufacturing,

Inc., pursuant to Fed. R. Civ. P. 41(a)(2) and (c), hereby move for an order dismissing all claims

in this action WITH PREJUDICE, subject to the terms of that certain agreement entitled

"SETTLEMENT AND LICENSE AGREEMENT" and dated May 27, 2014, with each party

to bear its own costs, expenses and attorneys' fees.

 /s/ Andrew W. Spangler                           /s/ Scott R. Brown
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Clear With Computers, LLC
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 27, 2014, I electronically filed the above document(s) with

the Clerk of Court using CM/ECF which will send electronic notification of such filing(s) to all

registered counsel.



                                             /s/ Andrew W. Spangler
                                             Andrew W. Spangler
